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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY,
1411 K St. NW, Suite 1300
Washington, D.C. 20005,                             COMPLAINT FOR DECLARATORY
                                                    AND INJUNCTIVE RELIEF
                Plaintiff,
   v.
                                                    Case No.:
U.S. DEPARTMENT OF COMMERCE,
1401 Constitution Ave., NW
Washington, D.C. 20230,

U.S. DEPARTMENT OF AGRICULTURE
1400 Independence Ave., SW
Washington, D.C. 20250,

U.S. FOREST SERVICE
1400 Independence Ave., SW
Washington, D.C. 20250,

                 and

U.S. DEPARTMENT OF THE INTERIOR,
1849 C Street, NW
Washington, D.C. 20240,

                Defendants.



                                       INTRODUCTION

  1. On April 3, 2025, Plaintiff Center for Biological Diversity (“Center”) submitted specific

        and narrow requests for records pursuant to the Freedom of Information Act, 5 U.S.C. §

        552, as amended (“FOIA”), to Defendants U.S. Department of Commerce (“DOC”), the

        U.S. Department of Agriculture’s (“USDA”) U.S. Forest Service (“USFS”), and the U.S.

        Department of Interior (“DOI”) seeking records relating to Section 3 of the Executive

        Order 14225, “Immediate Expansion of American Timber Production.” In violation of
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   FOIA, DOC, USDA, USFS and DOI have failed to provide timely determinations on the

   Center’s request and is improperly withholding responsive records from the Center.

2. Executive Order 14225 (“EO”) directs Federal Agencies to rapidly increase logging on

   public lands. However, it undermines critical environmental safeguards by allowing

   Federal Agencies to bypass key review processes under the National Environmental

   Policy Act (“NEPA”) and the Endangered Species Act (“ESA”). This circumvention

   limits public input, weakens science-based oversight, and threatens imperiled species and

   forest ecosystems by fast-tracking logging projects without fully considering their

   consequences to the human environment and imperiled species.

3. Specifically, Section 2(a) of the EO demands the Secretary of Interior, Secretary of

   Agriculture, and the Secretary of Commerce to issue new or updated guidance to increase

   timber harvest and legislative proposals to “expand authorities to improve timber

   production.”

4. Section 2(b) of the EO demands the Secretary of Interior and Secretary of Commerce to

   “complete a strategy” to “improve the speed of approving forestry projects,” and examine

   ways to delegate or reduce ESA consultation requirements.

5. Section 2(e) of the EO demands the Secretary of Interior and Secretary of Agriculture

   develop a “plan” and adopt and create categorical exclusions to circumvent the

   requirements under the National Environmental Policy Act (“NEPA”).

6. The Section 3 of the EO demands “all relevant agencies,” including the Secretary of

   Interior, Secretary of Agriculture, and Secretary of Commerce to eliminate “all undue

   delays within their respective permitting processes related to timber production.”

   Additionally, it demands agencies to “suspend, revise, or rescind all existing regulations,



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   orders, guidance documents, policies, settlements, consent orders, and other agency

   actions that impose an undue burden on timber production.”

7. Section 4 of the EO directs Federal Agencies to utilize ESA regulations which allow for

   streamlined consultation processes in emergency situations to “facilitate the Nation’s

   timber production.” It further demands that the Secretary of Interior, the Endangered

   Species Committee, and Director of the U.S. Fish and Wildlife Service ensure prompt

   review of consultations.

8. The Center and the public are unaware of the Federal Agencies’ responses to this EO.

   Specifically, the Center and the public are unaware of the new or updated guidance

   documents the Federal Agencies will issue regarding tools to facilitate increased timber

   production. The Center and the public are also unaware of the regulations, orders,

   guidance documents, policies, settlements, consent orders, and other agency actions that

   DOC, USDA, and DOI have determined “impose an undue burden on timber

   production.” The Center’s FOIA requests seek this information.

9. Despite the Center’s specific and narrow requests, DOC, USDA, USFS, and DOI have

   failed to provide a statutorily mandated determination within the deadline required by

   FOIA and have failed to promptly provide any responsive records to the Center in

   response to its requests, as required by FOIA.

10. Accordingly, the Center seeks (1) declaratory relief establishing that DOC, USDA,

   USFS, and DOI have violated FOIA; and (2) injunctive relief ordering DOC, USDA,

   USFS, and DOI to make an immediate determination on the Center’s FOIA requests and

   promptly release all requested records and information, including all reasonably

   segregable portions of any lawfully exempt records, by a date certain.



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                            JURISDICTION AND VENUE

11. This Court has jurisdiction over this matter pursuant to 5 U.S.C. § 552(a)(4)(B) and 28

   U.S.C. § 1331 because this action arises under FOIA, the Administrative Procedure Act

   (“APA”), 5 U.S.C. § 706, and the Declaratory Judgment Act, 28 U.S.C. § 2201.

12. Venue properly vests in this Court pursuant to 5 U.S.C. § 552(a)(4)(B), which provides

   venue for FOIA cases in this district, and because the responsive records may be found in

   this district.

13. Declaratory relief is appropriate under 28 U.S.C. § 2201.

14. Injunctive relief is appropriate under 28 U.S.C. § 2202 and 5 U.S.C. § 552(a)(4)(B).

                                        PARTIES

15. Plaintiff CENTER FOR BIOLOGICAL DIVERSITY is a national, non-profit

   conservation organization with offices throughout the United States. The Center has over

   93,000 members. The Center is the requester of the information and records at issue. The

   Center and its members are harmed by the DOC, USDA, USFS, and DOI’s failures to

   disclose the requested information and records that are responsive to the Center’s FOIA

   requests. These violations of FOIA preclude the Center from gaining a full understanding

   of important information about plans to implement the EO, and rules and orders that

   currently protect air and water, wildlife and nature, public lands, the climate, and

   vulnerable communities, and if and how such plans will be carried out and implmented.

   The Center’s members use and enjoy National Forests for aesthetic, recreational

   scientific, spiritual, vocational and educational purposes. The information requested and

   the Center’s subsequent analyses of it will help to inform and prioritize the Center’s

   organizational mission, including determining where to direct resources and develop



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   alternate strategies to protect National Forests from logging. The Center will also share

   the requested information with its members and the public in general to keep them

   informed about mounting threats to clean air and water, wildlife and nature protections,

   public lands, climate, and vulnerable communities and potential avenues for response.

   The requested records and information will also be used to inform Congressional

   representatives and their staffs about threats to the environment. The Center’s interests

   and activities are adversely affected by DOC, USDA, USFS, and DOI’s failures to

   disclose the requested records. This injury will be redressed if the Court orders DOC,

   USDA, USFS, and DOI’s to disclose the requested records.

16. Defendant U.S. DEPARTMENT OF COMMERCE is an independent agency of the

   executive branch of the U.S. government. The DOC is in possession and control of the

   records the Center seeks in its FOIA request to DOC, and as such, it is subject to FOIA

   pursuant to 5 U.S.C. § 552(f). The DOC is the federal agency responsible for applying

   and implementing the federal laws and regulations at issue in this complaint for the FOIA

   request to DOC.

17. Defendant U.S. DEPARTMENT OF AGRICULTURE is an independent agency of the

   executive branch of the U.S. government. The USDA is in possession and control of the

   records the Center seeks in its FOIA request to USDA’s Forest Service, and as such, it is

   subject to FOIA pursuant to 5 U.S.C. § 552(f). The USDA is the federal agency

   ultimately responsible for applying and implementing the federal laws and regulations at

   issue in this complaint for the FOIA request to USFS.

18. Defendant U.S. FOREST SERVICE is an independent agency of the executive branch of

   the U.S. government within the USDA. The USFS is in possession and control the



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   records the Center seeks in its FOIA request to USFS, and as such, it is subject to FOIA

   pursuant to 5 U.S.C. § 552(f). The USFS is the federal agency responsible for applying

   and implementing the federal laws and regulations at issue in this complaint for the FOIA

   request to USFS.

19. Defendant U.S. DEPARTMENT OF INTERIOR is an independent agency of the

   executive branch of the U.S. government. The DOI is in possession and control of the

   records the Center seeks in its FOIA request to DOI, and as such, it is subject to FOIA

   pursuant to 5 U.S.C. § 552(f). The DOI is the federal agency responsible for applying

   and implementing the federal laws and regulations at issue in this complaint for the FOIA

   request to USFS.

                             STATUTORY BACKGROUND

20. FOIA’s primary purpose is to improve government transparency and accountability by

   requiring the disclosure of agency records and information. It establishes the public’s

   right to access all federal agency records, 5 U.S.C. § 552(a), unless one or more narrow

   statutory exemptions apply. Id. § 552(b).

21. Recognizing that the timely disclosure of requested records is essential to fulfilling its

   purpose, FOIA imposes strict deadlines for agencies to respond to FOIA requests.

22. Within 20 working days of receiving a request, an agency must (1) determine if it will

   release the requested records; and (2) notify the requester of (a) its determination and

   reasons for it, (b) the right to seek assistance from the FOIA Public Liaison, and (c) the

   right to appeal an adverse determination. Id. § 552(a)(6)(A)(i).

23. In order to make the statutorily-required “determination,” the agency must at least: (i)

   gather and review the documents; (ii) determine and communicate the scope of the



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   documents it intends to produce and withhold, and the reasons for withholding any

   documents; and (iii) inform the requester that it can appeal whatever portion of the

   “determination” is adverse.

24. In “unusual circumstances,” an agency may extend the time to make a determination by

   no more than 10 additional working days, but it must provide written notice to the

   requester setting forth the unusual circumstances for the extension and “the date on which

   a determination is expected to be dispatched.” Id. § 552(a)(6)(B)(i).

25. If the agency provides written notice that the request cannot be processed within the

   specified time limit, the agency shall provide “an opportunity to limit the scope of the

   request so that it may be processed within” the statutory time limit or “an opportunity to

   arrange with the agency an alternative time frame for processing the request or a

   modified request” and shall “make available its FOIA Public Liaison” to “assist in the

   resolution of any disputes between the requester and the agency.” Id. § 552(a)(6)(B)(ii).

26. FOIA requires each agency to make reasonable efforts to search for records in a manner

   that is reasonably calculated to locate records that are responsive to the FOIA request. Id.

   § 552(a)(3)(C)–(D).

27. FOIA requires federal agencies to promptly disclose the requested records. Id. §

   552(a)(3)(A), (a)(6)(C)(i).

28. In certain limited instances, records may be withheld pursuant to nine specific

   exemptions. Id. § 552(b). These exemptions must be narrowly construed in light of

   FOIA’s dominant objective of disclosure, not secrecy. An agency bears the burden of

   proof if it claims any exemption applies to withhold responsive documents. Id.

   §552(a)(4)(B).



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  29. Even where records may be exempt from disclosure, FOIA requires agencies to disclose

     reasonably segregable portions of those records. Id. § 552(b).

  30. FOIA provides this Court jurisdiction “to enjoin the agency from withholding agency

     records and to order the production of any agency records improperly withheld from the

     complainant.” Id. § 552(a)(4)(B).

                                  STATEMENT OF FACTS

  31. On April 3, 2025, the Center submitted four (4) separate FOIA requests to the DOC,

     USDA’s Forest Service, and DOI (“Agencies”) requesting records related to the

     Agencies’ responses to the EO. The Agencies have not provided the Center with a

     determination on any of the requests nor have they released records in response to the

     request. The communications regarding each request are summarized below.

FOIA REQUEST TO DOC

  32. On April 3, 2025, the Center submitted to DOC a FOIA request for records from January

     20, 2025, to the date the DOC conducts the relevant search, seeking:

      . . .the records, excluding emails, documenting the suspension, revision, or
      recission of regulations, orders, guidance documents, policies, settlements,
      consent orders, and other agency actions that DOC has determined “impose an
      undue burden on timber production” pursuant to Section 3 of Executive Order
      14225, “Immediate Expansion of American Timber Production”
      https://www.whitehouse.gov/presidential-actions/2025/03/immediate-expansion-
      of-american-timber-production/.

  33. That same day, April 3, 2025, DOC assigned the Center’s request with the

     tracking number DOC-OS-2025-001480 and notified the Center that the status of

     the request is “received.”

  34. On April 4, 2025, the DOC notified the Center that they would be unable to

     respond to the request within the 20 days provided by statute due to “unusual



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     circumstances” including “the need to search for and collect the requested records

     agency records [sic] from field facilities or other establishments that are separate

     from this Office.”

  35. As of the date of this filing, more than 20 working days have passed since DOC

     received the Center’s April 3, 2025 request. The extension of 10 working days

     claimed by the DOC has also passed as of the date of this filing.

  36. As of the date of this filing, DOC has made no further communications with the

     Center.

  37. As of the date of this filing, DOC has not provided a determination to the Center

     describing the scope of the records it intends to produce or withhold, explained

     the reasons for withholding any records, or informed the Center that it may appeal

     any specific adverse determination within the relevant time periods in 5 U.S.C. §

     552(a)(6)(A)(i) or § 552(a)(6)(B).

  38. As of the date of this filing, DOC has not provided any of the requested records to

     the Center.

FIRST FOIA REQUEST TO USDA’S FOREST SERVICE

  39. On April 3, 2025, the Center submitted to USDA’s Forest Service a FOIA request for

     records from January 20, 2025, to the date the USFS conducts the relevant search seeking

     records (excluding emails):

     1. For new or updated guidance documents issued pursuant to Section 2(a) of
        Executive Order 14225, “Immediate Expansion of American Timber
        Production” https://www.whitehouse.gov/presidential-
        actions/2025/03/immediate-expansion-of- american-timber-production/; and
     2. Documenting the suspension, revision, or recission of regulations, orders,
        guidance documents, policies, settlements, consent orders, and other agency
        actions that DOC has determined “impose an undue burden on timber
        production” pursuant to Section 3 of Executive Order 14225.

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40. That same day, April 3, 2025, USDA assigned the Center’s request with the

   tracking number 2025-FS-WO-05969-F.

40. Again, that same day, April 3, 2025, USDA acknowledged the Center’s request

   and informed the Center that there is a “backlog of pending FOIA requests.”

41. On May 2, 2025, the Center, via email, requested an update on the status the

   FOIA requests to USDA.

42. That same day, USDA’s Government Information Specialist responded to the

   Center’s emails and stated that she “estimate[s] it may be six to eight weeks at the

   earliest” until records are released for the requests.

43. USDA did not provide the Center with the opportunity to limit the requests so that

   it may be processed within the statutory time limit or an opportunity to arrange

   with the agency an alternative time frame for processing the requests.

44. As of the date of this filing, more than 20 working days have passed since

   USDA’s Forest Service received the Center’s April 3, 2025 request. Although

   USDA did not invoke the “unusual circumstances” 10-day extension, if it had,

   those additional 10 days have also passed as of the date of this filing.

45. As of the date of this filing, USDA has made no further communications with the

   Center regarding either FOIA request.

46. As of the date of this filing, USDA has not provided a determination to the

   Center’s request assigned number FOIA 2025-FS-WO-05969-F describing the

   scope of the records it intends to produce or withhold, explained the reasons for

   withholding any records, or informed the Center that it may appeal any specific




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     adverse determination within the relevant time periods in 5 U.S.C. §

     552(a)(6)(A)(i) or § 552(a)(6)(B).

  47. As of the date of this filing, USDA has not provided any of the requested records

     for FOIA 2025-FS-WO-05969-F to the Center.

SECOND FOIA REQUEST TO USDA’S FOREST SERVICE

  48. On April 3, 2025, the Center also submitted to USDA’s Forest Service a second FOIA

     request for records from March 1, 2025, to the date the USFS conducts the relevant

     search, seeking records (excluding emails) “documenting the Forest Service’s

     implementation of Section 2(a) of the Executive Order “Immediate Expansion of

     American Timber Production” (March 1, 2025)

     https://www.whitehouse.gov/presidential- actions/2025/03/immediate-expansion-of-

     american-timber-production/.”

  41. The Center noted in this FOIA request that it is willing to receive records on a rolling

     basis.

  42. That same day, April 3, 2025, USDA assigned the Center’s request with the

     tracking number 2025-FS-WO-05966-F.

  49. Again, that same day, April 3, 2025, USDA acknowledged the Center’s request

     and informed the Center that there is a “backlog of pending FOIA requests.”

  50. On May 2, 2025, the Center, via email, requested an update on the status of the

     FOIA requests to USDA.

  51. That same day, USDA’s Government Information Specialist responded to the

     Center’s email and stated that she “estimate[s] it may be six to eight weeks at the

     earliest” until records are released for the request.



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  52. USDA did not provide the Center with the opportunity to limit the requests so that

     it may be processed within the statutory time limit or an opportunity to arrange

     with the agency an alternative time frame for processing the requests.

  53. As of the date of this filing, more than 20 working days have passed since

     USDA’s Forest Service received the Center’s April 3, 2025 request. Although

     USDA did not invoke the “unusual circumstances” 10-day extension, if it had,

     those additional 10 days have also passed as of the date of this filing.

  54. As of the date of this filing, USDA has made no further communications with the

     Center regarding either FOIA request.

  55. As of the date of this filing, USDA has not provided a determination to the

     Center’s request assigned 2025-FS-WO-05966-F describing the scope of the

     records it intends to produce or withhold, explained the reasons for withholding

     any records, or informed the Center that it may appeal any specific adverse

     determination within the relevant time periods in 5 U.S.C. § 552(a)(6)(A)(i) or §

     552(a)(6)(B).

  56. As of the date of this filing, USDA has not provided any of the requested records

     for FOIA 2025-FS-WO-05966-F to the Center.

FOIA REQUEST TO DOI

  57. On April 3, 2025, the Center submitted to DOI a FOIA request for records from January

     20, 2025, to the date the DOI conducts the relevant search, seeking records (excluding

     emails):

     1. For new or updated guidance documents issued pursuant to Section 2(a) of
        Executive Order 14225, “Immediate Expansion of American Timber
        Production” https://www.whitehouse.gov/presidential-
        actions/2025/03/immediate-expansion-of-american-timber-production/; and

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   2. Documenting the suspension, revision, or recission of regulations, orders,
      guidance documents, policies, settlements, consent orders, and other agency
      actions that DOC has determined “impose an undue burden on timber
      production” pursuant to Section 3 of Executive Order 14225; and
   3. Documenting the submissions and applications for consultations received by
      the Endangered Species Committee.

58. That same day, April 3, 2025, DOI assigned the Center’s request with the tracking

   number DOI-2025-005466.

59. Again, that same day, April 10, 2025, DOI acknowledged the Center’s request

   and informed the Center that their request “falls into the ‘complex’ processing

   track for requests that would generally take twenty-one to sixty workdays to

   process.” The DOI also informed the Center that it is “taking a 10-day extension.”

60. As of the date of this filing, more than 20 working days have passed since DOI

   received the Center’s April 3, 2025 request. The extension of 10 working days

   claimed by the DOI has also passed as of the date of this filing

61. As of the date of this filing, DOI has made no further communications with the

   Center.

62. As of the date of this filing, DOI has not provided a determination to the Center’s

   request describing the scope of the records it intends to produce or withhold,

   explained the reasons for withholding any records, or informed the Center that it

   may appeal any specific adverse determination within the relevant time periods in

   5 U.S.C. § 552(a)(6)(A)(i) or § 552(a)(6)(B).

63. As of the date of this filing, DOI has not provided any of the requested records to

   the Center.




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                                 CLAIMS FOR RELIEF
                            FIRST CLAIM FOR RELIEF
   DOC, USDA, USFS, and DOI have Failed to Comply with FOIA’s Mandatory
                                 Determination Deadline
64. The Center re-alleges and incorporates by reference the allegations made in all preceding
   paragraphs.
65. The Center properly requested records within the control of DOC, USDA, USFS, and
   DOI through its April 3, 2025 requests.
66. The Center has a statutory right to a lawful final determination from DOC, USDA, USFS,
   and DOI on the Center’s April 3, 2025 FOIA requests in a manner that complies with
   FOIA. 5 U.S.C. § 552(a)(6)(A)(i).
67. In order to make a lawful “determination,” DOC, USDA, USFS, and DOI must at least:
   (i) gather and review the documents; (ii) determine and communicate the scope of the
   documents it intends to produce and withhold, and the reasons for withholding any
   documents; and (iii) inform the requester that it can appeal whatever portion of the
   “determination” is adverse.
68. The deadline for DOC, USDA, USFS, and DOI to provide a determination on the
   Center’s requests has lapsed because more than 20 working days have passed since DOC,
   USDA, USFS, and DOI received the Center’s requests and the extension of 10 working
   days claimed by DOC and DOI has also passed.
69. DOC, USDA, USFS, and DOI’s failure to provide a lawful determination on the Center’s
   request by FOIA’s mandatory deadline violates the Center’s right to a determination.
70. DOC, USDA, USFS, and DOI have no lawful basis under FOIA for its delay and has
   provided no lawful basis to withhold a determination in response to the Center’s request.
71. The Center is deemed to have exhausted its administrative remedies pursuant to 5 U.S.C.
   § 552(a)(6)(C)(i).




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  72. The Center’s organizational activities will be adversely affected if DOC, USDA, USFS,
     and DOI are allowed to continue violating FOIA’s requirement to provide a
     determination.
  73. Based on the nature of the Center’s organizational activities, it will undoubtedly continue
     to employ FOIA’s provisions in records requests to DOC, USDA, USFS, and DOI in the
     foreseeable future.
  74. Unless enjoined and made subject to a declaration of the Center’s legal rights by this
     Court, DOC, USDA, USFS, and DOI will continue to violate the Center’s right to receive
     a determination in response to the Center’s requests for records under FOIA.
                             SECOND CLAIM FOR RELIEF
DOC, USDA, USFS, and DOI have Failed to Conduct an Adequate Search for Responsive
                                           Records
  75. Plaintiff re-alleges and incorporates by reference the allegations made in all preceding
     paragraphs.
  76. The Center has a statutory right to have DOC, USDA, USFS, and DOI process the
     Center’s April 3, 2025 FOIA requests in a manner that complies with FOIA. 5 U.S.C. §
     552(a)(3).
  77. DOC, USDA, USFS, and DOI violated the Center’s rights in this regard because DOC,
     USDA, and DOI have unlawfully failed to conduct adequate searches reasonably
     calculated to locate all records responsive to the Center’s FOIA requests. Id.
  78. DOC, USDA, USFS, and DOI have no lawful basis under FOIA for their failure to
     conduct adequate searches for records responsive to the Center’s April 3, 2025 records
     requests.
  79. Unless enjoined and made subject to a declaration of the Center’s legal rights by this
     Court, DOC, USDA, USFS, and DOI will continue to violate the Center’s rights under
     FOIA to an adequate search for records responsive to the Center’s April 3, 2025 records
     requests.



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                                THIRD CLAIM FOR RELIEF
  DOC, USDA, USFS, and DOI have Failed to Promptly Disclose all Responsive Records
   80. Plaintiff re-alleges and incorporates by reference the allegations made in all preceding
      paragraphs.
   81. The Center has a statutory right to the prompt disclosure of requested records. 5 U.S.C. §
      552(a)(3)(A).
   82. DOC, USDA, USFS, and DOI have violated the Center’s rights in this regard by
      withholding records that are responsive to the Center’s April 3, 2025 FOIA requests.
   83. DOC, USDA, USFS, and DOI have provided no lawful basis to withhold the records
      pursuant to any of FOIA’s nine exemptions to mandatory disclosure or to withhold any
      segregable, nonexempt portion of the records. See id. § 552(a)(8)(A), (b)(1)–(9).
   84. Unless enjoined and made subject to a declaration of the Center’s legal rights by this
      Court, DOC, USDA, USFS, and DOI will continue to violate the Center’s right to
      promptly receive all records responsive to its FOIA requests.
                                   PRAYER FOR RELIEF
WHEREFORE, the Center requests that this Court:
      A. Declare that the Defendants violated FOIA by failing to provide a lawful
          determination within 20 workings days on the Center’s April 3, 2025 FOIA requests,
          tracking numbers DOC-OS-2025-001480, 2025-FS-WO-05969-F, 2025-FS-WO-
          05966-F, and DOI-2025-005466, failing to conduct an adequate search for records
          responsive to the requests, and failing to promptly disclose all records responsive to
          the requests;
      B. Order the Defendants to immediately make a determination on the Center’s April 3,
          2025 FOIA requests tracking numbers DOC-OS-2025-001480, 2025-FS-WO-05969-
          F, 2025-FS-WO-05966-F, and DOI-2025-005466;
      C. Order the Defendants to search for any and all responsive records to the Center’s
          April 3, 2025, FOIA requests tracking number DOC-OS-2025-001480, 2025-FS-WO-
          05969-F, 2025-FS-WO-05966-F, and DOI-2025-005466, using search methods

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         reasonably likely to lead to discovery of all responsive records with the cut-off date
         for such search being the date the search is conducted;
      D. Order the Defendants to promptly produce, by a date certain, all nonexempt
         responsive records or segregable portions of the records and a Vaughn index of any
         responsive records or portions of responsive records withheld under a claim of
         exemption, at no cost to Plaintiff.
      E. Enjoin the Defendants from continuing to withhold any nonexempt responsive
         records or segregable portions of the records;
      F. Retain jurisdiction of this action to ensure the processing of the Center’s FOIA
         request and that no agency records or portions of the records are improperly withheld;
      G. Award the Center its costs and reasonable attorney fees pursuant to 5 U.S.C. §
         552(a)(4)(E) or 28 U.S.C. § 2412; and
      H. Grant such other and further relief as the Court may deem just and proper.



DATED: May 16, 2025
                                                    Respectfully submitted,
                                                    /s/ Howard M. Crystal
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